Case 1:19-cv-06610-KPF Document 2 Filed 07/16/19 Pa obi’ (J ly (y / 0

JS 44C/SDNY CIVIL COVER SHEET
REV. 06/01/17
The JS-44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or
other papers as required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the
United States in September 1974, is required for use of the Clerk of Court for the purpose of initiating the civil docket sheet. LE, f
Qi ll 4
PLAINTIFFS DEFENDANTS

Fundacién Rafael Dondé

ATTORNEYS (FIRM NAME, ADDRESS, AND TELEPHONE NUMBER
Richard F. Hans, Richard A. Chesley, Rachel Ehrlich Albanese

DLA PIPER LLP (US), 1251 Avenue of the Americas, New York, New York
10020-1104; Tel.: (212) 335-4500

Miami Metals |, Inc., et al.

ATTORNEYS (IF KNOWN)
See attachment

CAUSE OF ACTION (CITE THE U.S. CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE)
(DO NOT CITE JURISDICTIONAL STATUTES UNLESS DIVERSITY)

28 USC 158 (appeal from bankruptcy court order)

sawn

Judge Previously Assigned

Has this action, case, or proceeding, or one essentially the same been previously filed in SDNY at any time? No WlYesl]

If yes, was this case Vol.[_] Invol. [[] Dismissed. No[_] Yes [_] Ifyes, give date & Case No.
Is THIS AN INTERNATIONAL ARBITRATION CASE? No [x] Yes []
(PLACE AN [x] IN ONE BOX ONLY) NATURE OF SUIT
TORTS ACTIONS UNDER STATUTES
CONTRACT PERSONAL INJURY PERSONAL INJURY FORFEITURE/PENALTY BANKRUPTCY
[ ]367 HEALTHCARE/
[ ]110 INSURANCE [ ]310 AIRPLANE PHARMACEUTICAL PERSONAL | 1625 DRUG RELATED [x] 422 APPEAL
[ ] 120 MARINE [ ]315 AIRPLANE PRODUCT INJURY/PRODUCT LIABILITY  Seizpe OF PROPERTY 28 USC 158
[ ] 130 MILLER ACT LIABILITY [ 1385 PERSONAL INJURY 21 USC 881 [ ] 423 WTHDRAWAL
[ ] 140 NEGOTIABLE { 1320 ASSAULT, LIBEL & PRODUCT LIABILITY 1 1 699 OTHER 28 USC 157
INSTRUMENT SLANDER [ ] 368 ASBESTOS PERSONAL
[ ] 150 RECOVERY OF [ ]330 FEDERAL INJURY PRODUCT
OVERPAYMENT & EMPLOYERS' LIABILITY PROPERTY RIGHTS
ENFORCEMENT LIABILITY
OF JUDGMENT [ ]340 MARINE PERSONAL PROPERTY [ ] 820 COPYRIGHTS
[ ] 151 MEDICARE ACT _‘[ ]345 MARINE PRODUCT [ ] 830 PATENT
[ ] 152 RECOVERY OF LIABILITY [ ]}370 OTHER FRAUD
DEFAULTED [ ]350 MOTOR VEHICLE (1374 7RUTHIN LENDING _—‘[ 885 PATENT-ABBREVIATED NEW DRUG APPLICATION
STUDENT LOANS [ ]355 MOTOR VEHICLE [ ] 840 TRADEMARK
(EXCL VETERANS) PRODUCT LIABILITY SOCIAL SECURITY
[ } 153 RECOVERY OF —[ ] 360 OTHER PERSONAL
OVERPAYMENT INJURY [ ]380 OTHER PERSONAL LABOR [ ] 851 HIA (1395ff)
OF VETERAN'S [ ]362 PERSONAL INJURY - PROPERTY DAMAGE [ ] 862 BLACK LUNG (923)
BENEFITS MED MALPRACTICE [ ]385PROPERTY DAMAGE  =[ ] 710 FAIRLABOR [ ] 863 DIWC/DIWW (405(q))
[ ] 160 STOCKHOLDERS PRODUCT LIABILITY STANDARDS ACT [ ] 864 SSID TITLE XVI
SUITS [ ]720 LABOR/MGMT [ ]885 RSI (405(g))
[ ] 190 OTHER PRISONER PETITIONS RELATIONS
CONTRACT [ ] 463 ALIEN DETAINEE [ ] 740 RAILWAY LABOR ACT
[ ] 195 CONTRACT [ ] 510 MOTIONS TO FEDERAL TAX SUITS
PRODUCT ACTIONS UNDER STATUTES VACATE SENTENCE bees oreAcie oe
LIABILITY 28 USC 2255 [ ] 870 TAXES (U.S. Plaintiff or
[ ]196 FRANCHISE CIVIL RIGHTS [ ]530 HABEAS CORPUS [ ]790 OTHER LABOR Defendant)
[ ] 535 DEATH PENALTY LITIGATION [ ]871 IRS-THIRD PARTY
[]440 OTHER CIVILRIGHTS [1 540MANDAMUS 2 OTHER [ ]791 Se pene es 26 USC 7609
(Non-Prisoner) ( )
REAL PROPERTY
[ ]441 VOTING IMMIGRATION
[ ]210 LAND [ ] 442 EMPLOYMENT PRISONER CIVIL RIGHTS
CONDEMNATION — [ ] 443 HOUSING/ [ ] 462 NATURALIZATION
[ ] 220 FORECLOSURE ACCOMMODATIONS [ ] 550 CIVIL RIGHTS APPLICATION
[ } 230 RENT LEASE & [ ]445 AMERICANS WITH [ ]555 PRISON CONDITION =‘ [_] 465 OTHER IMMIGRATION
EJECTMENT DISABILITIES - ] 560 CIVIL DETAINEE ACTIONS
[ ] 240 TORTS TO LAND EMPLOYMENT CONDITIONS OF CONFINEMENT
[ ]245 TORTPRODUCT []446 AMERICANS WITH
LIABILITY DISABILITIES -OTHER
[ ] 290 ALL OTHER [ ] 448 EDUCATION
REAL PROPERTY

Check if demanded in complaint:

OTHER STATUTES

[ 1375 FALSE CLAIMS
[ 1376 QUI TAM

[ 1400 STATE
REAPPORTIONMENT

[ 1410 ANTITRUST

[ ]430 BANKS & BANKING

{ 1450 COMMERCE

[ ]460 DEPORTATION

[ 1470 RACKETEER INFLU-
ENCED & CORRUPT
ORGANIZATION ACT
(RICO)

[ ]480 CONSUMER CREDIT

[ ]490 CABLE/SATELLITE TV

[ ]} 850 SECURITIES/
COMMODITIES/
EXCHANGE

[ ]890 OTHER STATUTORY
ACTIONS
[ ] 891 AGRICULTURAL ACTS

[ ]893 ENVIRONMENTAL
MATTERS
[ ]895 FREEDOM OF
INFORMATION ACT
[ ] 896 ARBITRATION
[ ] 899 ADMINISTRATIVE
PROCEDURE ACT/REVIEW OR
APPEAL OF AGENCY DECISION

[ ] 950 CONSTITUTIONALITY OF
STATE STATUTES

DO YOU CLAIM THIS CASE IS RELATED TO A CIVIL CASE NOW PENDING IN S.D.N.Y.

 

CHECK IF THIS IS ACLASS ACTION
UNDER F.R.C.P. 23

 

 

IF SO, STATE:

 

DEMAND §$ OTHER JUDGE

AS DEFINED BY LOCAL RULE FOR DIVISION OF BUSINESS 13?

DOCKET NUMBER

 

Check YES only if demanded in complaint
JURY DEMAND: Ll yes LNO

NOTE: You must also submit at the time of filing the Statement of Relatedness form (Form |H-32).
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(PLACE AN x IN ONE BOX ONLY) ORIGIN
[x] 1 Original L] 2 Removed from [13 Remanded L] 4 Reinstated or O 5 Transferred from L16 teen Li? ean
Proceeding State Court from Reopened (Specify District) (Transferred) Magistrate Judge

Oo eoavt aA Appellate
a. all parties represente Court
[_] 8 Multidistrict Litigation (Direct File)

L] b. Atleast one party

is pro se.
(PLACE AN x IN ONE BOX ONLY) BASIS OF JURISDICTION IF DIVERSITY, INDICATE
[11 U.S. PLAINTIFF [[)2 U.S. DEFENDANT [x] 3 FEDERAL QUESTION (14 DIVERSITY CITIZENSHIP BELOW.

(U.S. NOT A PARTY)

CITIZENSHIP OF PRINCIPAL PARTIES (FOR DIVERSITY CASES ONLY)

(Place an [X] in one box for Plaintiff and one box for Defendant)

PTF DEF PTF DEF PTF DEF

CITIZEN OF THIS STATE Did tid CITIZEN OR SUBJECT OF A [13113 INCORPORATED and PRINCIPALPLACE []5 []5
FOREIGN COUNTRY OF BUSINESS IN ANOTHER STATE

CITIZEN OF ANOTHER STATE []2 []2 INCORPORATED or PRINCIPAL PLACE [ ]4[ 14 FOREIGN NATION [16 [16

OF BUSINESS IN THIS STATE

PLAINTIFF(S) ADDRESS(ES) AND COUNTY(IES)

DEFENDANT(S) ADDRESS(ES) AND COUNTY(IES)

DEFENDANT(S) ADDRESS UNKNOWN

REPRESENTATION IS HEREBY MADE THAT, AT THIS TIME, | HAVE BEEN UNABLE, WITH REASONABLE DILIGENCE, TO ASCERTAIN
THE RESIDENCE ADDRESSES OF THE FOLLOWING DEFENDANTS:

COURTHOUSE ASSIGNMENT
| hereby certify that this case should be assigned to the courthouse indicated below pursuant to Local Rule for Division of Business 18, 20 or 21.

Check one: THIS ACTION SHOULD BE ASSIGNED TO: [| WHITE PLAINS [x} MANHATTAN

DATE 7/11/2019 /s/ Richard F. Hans ADMITTED TO PRACTICE IN THIS DISTRICT
[] NO
[X] YES (DATE ADMITTED Mo. April Yr. 1994)
RECEIPT #AXXXXXXXX Attorney Bar Code #RH0110

Magistrate Judge is to be designated by the Clerk of the Court.
Magistrate Judge is so Designated.

Ruby J. Krajick, Clerk of Court by Deputy Clerk, DATED

UNITED STATES DISTRICT COURT (NEW YORK SOUTHERN)
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ADDENDUM

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Case 1:19-cv-06610-KPF Document 2 Filed 07/16/19 Page 6 of 6
